  Case 4:23-cv-00871-ALM Document 13 Filed 10/26/23 Page 1 of 1 PageID #: 39



UAET (02-2008)




                 Unopposed Application for Extension of Time to Answer Complaint
                     Attach this form to the Application for Extension of Time to Answer Complaint event.



C ASE AND D EADLINE INFORMATION



Civil Action No.: 4:23-cv-00871-ALM
Name of party requesting extension: Patricia Bonaparte
Is this the first application for extension of time in this case?                         ✔ Yes
                                                                                              No
            If no, please indicate which application this represents:                         Second
                                                                                              Third
                                                                                              Other ___________
Date of Service of Summons: 10/09/2023
Number of days requested:                        30 days
                                                 15 days
                                                       21 days
                                                 Other _____
New Deadline Date: 11/20/2023 (Required)


A TTORNEY FILING APPLICATION INFORMATION



            Full Name: James C. Erdle, Jr.
            State Bar No.: 24069680
            Firm Name: Glast, Phillips & Murray, P.C.
            Address: 14801 Quorum Drive, Suite 500, Dallas, Texas 75254



            Phone: 972.419.8300
            Fax: 972.419.8329
            Email: jerdle@gpm-law.com
                  A certificate of conference does not need to be filed with this unopposed application.
